                       Case 4:10-cr-00294-JLH                 Document 109             Filed 02/16/12          Page 1 of 8
A0245B         (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1
                                                                                                                        FILED
                                                                                                                      U.S. DISTRICT COURT
                                                                                                                fA&fcN P'src'cr opree·sns

                                          UNITED STATES DISTRICT COURT                                                FEB 16 2012
                                                          Eastern District of Arkansas                   JAM~~K
                                                                                                         By·
                                                                           )                                                            OEPCL.ERK
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                                                                           )
                      KAMERON NORRIS                                              Case Number:           4: 10CR00294-02 JLH
                                                                           )
                                                                           )      USMNumber:             26326-009
                                                                           )
                                                                           )      James H. Phillips
                                                                                  Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         Count 1 of Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
21 U.S.C. §§ 841(a)(1),           Conspiracy to possess with intent to distribute and to distribute           10/8/2010                  1
  (b)(1)(C) and 846                Oxycontin, a Class C felony




       The defendant is sentenced as provided in pages 2 through           ---'6'--- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      Counts 3 and 4 of SS Indictment           Dis      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in econotDlc circumstances.




                                                                          J. LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          February 16, 2012
                                                                          Date
                        Case 4:10-cr-00294-JLH                  Document 109        Filed 02/16/12         Page 2 of 8
AO 2458       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   2   of   6
DEFENDANT:                       KAMERON NORRIS
CASE NUMBER:                     4:10CR00294-02 JLH


                                                                 IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

                                                                  63MONTHS


   X The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends defendant participate in residential substance abuse treatment, mental health
          treatment, and educational and vocational programs during incarceration. The Court further
          recommends placement in a BOP facility near defendant's family in North Little Rock, Arkansas.

   X The defendant is remanded to the custody of the United States Marshal.

   0      The defendant shall surrender to the United States Marshal for this district:

          0    at                                      0 a.m.    0 p.m.     on
                      -------------------
          0    as notified by the United States Marshal.

   0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0    before 2 p.m. on

          0    as notified by the United States Marshal.

          0    as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a ------------------------------- , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                           By ----------====~====~==~~~~---------
                                                                                       DEPUTY UNITED STATES MARSHAL
                       Case 4:10-cr-00294-JLH                Document 109            Filed 02/16/12            Page 3 of 8
AO 2458     (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3 - Supervised Release
                                                                                                          Judgment-Page       3    of        6
DEFENDANT:                    KAMERON NORRIS
CASE NUMBER:                  4: 10CR00294-02 JLH
                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
                                                           THREE (3) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
D      future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D      as directed by the probation officer, the -:Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted pennission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the d~fe_ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        penmss10n of the court; and

 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or £ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
                   Case 4:10-cr-00294-JLH            Document 109     Filed 02/16/12       Page 4 of 8
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A- Supervised Release
                                                                                        Judgment-Page ---'-4- of      6
DEFENDANT:                KAMERON NORRIS
CASE NUMBER:              4: 10CR00294-02 JLH

                                    ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program whicfi may mclude testing, outpatient counseling, and residential treatment. The defendant must abstain
from the use of alcohol throughout the course of treatment.
                     Case 4:10-cr-00294-JLH                   Document 109          Filed 02/16/12           Page 5 of 8
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page   -~5_ _   of        6
DEFENDANT:                         KAMERON NORRIS
CASE NUMBER:                       4: 10CR00294-02 JLH
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                         Fine                                 Restitution
TOTALS            $ 100.00                                            $ 0                                $ 0


D The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned _payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U:S.C. § 3664tt), all nonfederal victims must be paid
     before the United States is patd.

Name of Payee                                 Total Loss*                     Restitution Ordered                      Priority or Percentage




TOTALS                              $ _ _ _ _ _ _ __                        $ _ _ _ _ _ _ ___


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the            D fine    D restitution.
     D the interest requirement for the           D   fine    D restitution is modified as follows:


*Findings for the total amount oflosses are reguired under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
Septemoer 13, 1994, but before April23, 1990.
                      Case 4:10-cr-00294-JLH                  Document 109              Filed 02/16/12            Page 6 of 8
AO 245B     (Rev. 09/11) Judgment in a Criminal Case
            Sheet 6- Schedule of Payments
                                                                                                              Judgment- Page ---=-6_ _ of             6
DEFENDANT:                   KAMERON NORRIS
CASE NUMBER:                 4:10CR00294-02 JLH

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X Lump sum payment of$ -=-10:....:0:..:....0:....:0'------ due immediately, balance due
           D      not later than                                    , or
           D      in accordance           D C,         D D,    D      E, or    D Fbelow; or
B     D    Payment to begin immediately (may be combined with                 oc,        D D, or      D F below); or
C     D Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud~ent imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant's interest in the following property to the United States:
     See attached FINAL ORDER OF FORFEITURE filed on December 2, 2011


Pa)'!llents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
      Case 4:10-cr-00294-JLH Document 109                      Filed 02/16/12 Page 7 of 8
        Case 4:1 0-cr-00294-JLH Document 101                   Filed 12/02/11 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                      No. 4:10CR00294 JLH

KAMERON NORRIS a/k/a/ Kam

                                FINAL ORDER OF FORFEITURE

        WHEREAS, on September 28, 2011, this Court entered a Preliminary Order of Forfeiture,

ordering defendant to forfeit his interest in the following:

        a.      one Glock 27 handgun, Serial Number MSY847; and
        b.      nine rounds of ammunition

        WHEREAS, the United States caused to be published on the forfeiture website, internet

address ofwww.forfeiture.gov for thirty consecutive days beginning on October 3, 2011, notice of

this forfeiture and of the intent of the United States to dispose of the property in accordance with the

law and as specified in the Preliminary Order. and further notifying all third parties of their right to

petition the Court within thirty (30) days for a hearing to adjudicate the validity of their alleged legal

interest in the property;

        WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

        WHEREAS, the Court finds that defendant had an interest in the property that is subject to

forfeiture pursuant to Title 18, U.S.C.§ 924(d), Title 21 U.S.C. § 853, and Title 28, U.S.C.§ 2461(c).

        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

        a.      one Glock 27 handgun, Serial Number MSY847; and
        b.      nine rounds of ammunition

is hereby forfeited to the United States of America pursuant to Title 18, U.S.C.§ 924(d), Title 21

U.S.C. § 853 and Title 28, U.S.C.§ 2461.
      Case 4:10-cr-00294-JLH          Document 109         Filed 02/16/12     Page 8 of 8
         Case 4:1 0-cr-00294-JLH Document 101              Filed 12/02/11   Page 2 of 2


       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title, and

interest in all of the property set forth above is hereby condemned, forfeited and vested in the

United States of America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order; and

       IT IS SO ORDERED this 2nd day of December, 2011.




                                                 2
